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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 5, 2023
______________________________________________________________________



                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                             §
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §                      CASE NO. 19-34054-SGJ-11
                                        §                      (Chapter 11)
      Reorganized Debtor.               §


                 MEMORANDUM OPINION AND ORDER DENYING “AMENDED
                          RENEWED MOTION TO RECUSE,
                           PURSUANT TO 28 U.S.C. § 455”

               (ruling on the most recent motion to recuse filed in the main bankruptcy
                                     case, see DE ## 3570 & 3571)

            There have been multiple motions to recuse the presiding bankruptcy judge (“Presiding

     Judge”) in the main bankruptcy case of Highland Capital Management, L.P. (“Highland,”

     “Reorganized Debtor,” or sometimes “Debtor”). Each one has been filed by James Dondero,

     Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy

     Investment Trust, The Get Good Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE

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Partners, LLC, a Delaware limited liability company (collectively, the “Movants”).1                         This

Memorandum and Order relates to the one entitled Amended Renewed Motion to Recuse Pursuant

to 28 U.S.C. § 455 (with supporting Brief), filed October 17, 2022 [DE ## 3570 & 3571]—which

is either the second or third such motion filed in the main bankruptcy case, depending upon how

one counts. For ease of reference, the court will refer to this motion and brief at DE ## 3570 &

3571 as the “Third Motion to Recuse.” This Memorandum Opinion and Order denies the Third

Motion to Recuse.

        I.       FOR CLARIFICATION, THE FOUR MOTIONS TO RECUSE FILED BY
                 MOVANTS.

        First Motion to Recuse. Movants filed the first Motion to Recuse Pursuant to 28 U.S.C. §

455 on March 18, 2021, along with a supporting Brief and an Appendix [DE ## 2060, 2061, &

2062] (hereinafter, the “First Motion to Recuse”). This was collectively 2,763 pages in length.

This was approximately one month after the bankruptcy court confirmed a Chapter 11 plan in this

case—specifically, the court confirmed a plan (the “Plan”) on February 22, 2021. This was also

approximately 17 months after the bankruptcy case was filed in October 2019. The First Motion

to Recuse was also filed just two business days before the bankruptcy court was scheduled to hear

a motion of Highland to hold Mr. Dondero in contempt of a TRO. The court denied the First

Motion to Recuse in an order dated March 23, 2021 (“First Order Denying Recusal”) [DE # 2083].

The Movants appealed the First Order Denying Recusal, and that appeal was dismissed for lack

of jurisdiction on February 9, 2022 (“District Judge Kinkeade’s Order”) (reported at 2022 WL


1
  An entirely separate, fourth Motion to Recuse the Presiding Bankruptcy Judge was filed February 27, 2023, by one
of the Movants—Highland Capital Management Fund Advisors, L.P.—in related Adversary Proceeding # 21-3076
styled Kirschner v. Dondero, et al. [DE # 309]. This Memorandum Opinion and Order is not intended to address that
motion.

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394760). District Judge Kinkeade’s Order held that: (a) an order denying a motion to recuse is

an interlocutory order; (b) it is not subject to the collateral order doctrine; (c) it is not an

appealable interlocutory order under 28 U.S.C. § 1292(a); (d) Movants were not entitled to leave

to appeal under 28 U.S.C. § 1292(b); (e) Movants were not entitled to withdrawal of the reference

on the First Motion to Recuse; and (f) Movants were not entitled to have their appeal construed

as a petition for writ of mandamus.

        Second Motion to Recuse. A new motion was filed on August 25, 2022, five months after

District Judge Kinkeade’s Order. It was entitled “Amended Motion for Final Appealable Order

and Supplement to Motion to Recuse Pursuant to 28 U.S.C. § 455 and Brief in Support” [DE ##

3470 & 3471] (“Second Motion to Recuse”). This was six days after the Fifth Circuit ruled on the

appeal of the Highland Plan confirmation order, affirming it in substantial part. The Second

Motion to Recuse, which, with Appendix, was 162 pages in length, expressed Movants’

interpretation of District Judge Kinkeade’s Order: that the only reason the First Order Denying

Recusal was not final and appealable was because of one sentence at the end of the order, wherein

the bankruptcy court reserved the right to supplement or amend the order. The bankruptcy court

promptly set a status conference (six days later—on August 31, 2022) regarding the Second

Motion to Recuse to clarify Movants’ basis for its new motion. For one thing, the bankruptcy

court questioned Movants’ interpretation that this one sentence in the First Order Denying Recusal

was the actual basis for District Judge Kinkeade’s Order,2 since he cited a litany of authority for

the proposition that a recusal order does not become final until a final judgment has been entered


2
   The bankruptcy court put that sentence in the First Order Denying Recusal because it expected the Movants might
file a Rule 59 motion requesting a hearing or seeking more findings.

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in the overall proceeding. District Judge Kinkeade’s Order, penultimate paragraph (“Appellants

must await final judgment, or other final resolution, of their bankruptcy proceeding in order to

appeal the Recusal Order.”). In other words, could the bankruptcy court truly “fix” the lack of

finality problem by simply deleting that one sentence in the First Order Denying Recusal?

Moreover, the court questioned the procedural propriety of Movants’ request to “supplement” the

record on the First Motion to Recuse with approximately 154 pages of extra evidence. This request

appeared to the court to be either a very untimely Rule 59 motion or, in essence, a new motion to

recuse—urging consideration of new grounds/evidence that arose subsequent to the First Motion

to Recuse. After a status conference, on September 1, 2022, the court issued an order denying the

Second Motion to Recuse [DE # 3479] (“Second Order Denying Recusal”) for procedural defects,

but ruled that the order was:

       without prejudice to the Movants’ right to file (1) a simple motion (without an
       appendix or attached proposed supplements to the record) under the appropriate
       procedural rule(s), seeking only a revised and amended Recusal Order that removes
       the following language contained at the end of the Recusal Order, but otherwise
       leaves the Recusal Order unchanged: “The court reserves the right to supplement
       or amend this ruling;” and/or (2) a new motion to recuse this bankruptcy judge
       based on any alleged new evidence or grounds for recusal that were not considered
       by this bankruptcy judge at the time of its consideration of the original Recusal
       Order.

       Third Motion to Recuse. The Movants chose the latter option. Specifically, approximately

six weeks later, on October 17, 2022, the Movants filed the current motion before the court entitled

Amended Renewed Motion to Recuse Pursuant to 28 U.S.C. § 455 and supporting brief [DE ##

3570 & 3571] (the “Third Motion to Recuse”). This was 10 days after the Fifth Circuit had issued,

on October 7, 2022, a denial of a request for a stay in connection with its ruling on the Plan and

confirmation order. The court is aware that there is a petition for writ of certiorari pending at the

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U.S. Supreme Court regarding the Plan and confirmation order. In any event, the Third Motion to

Recuse is 280 pages in length (the motion, brief and appendix combined)—with the additional

appendix intended to supplement the 2,763 pages of materials filed with the First Motion to

Recuse. The Reorganized Debtor filed a Response and Brief objecting to the Third Motion to

Recuse (56 pages in length) and filed an appendix in support (4,035 pages in length), both on

October 31, 2022. DE # 3595 & 3596. Movants then filed a motion to file a reply brief in excess

of the page limit and a Reply [DE ## 3618 & 3623] on November 10, and November 14, 2022,

respectively. These documents were collectively 58 pages. Because more than 7,000 pages of

material were submitted, and also because this court has other court business (including typically

at least three Highland contested matters or adversary rulings under advisement at any given point

in time), this court has had the Third Motion to Recuse under advisement (that is the subject of

this Order).

         Fourth Motion to Recuse. Meanwhile a fourth motion to recuse the Presiding Judge was

filed on February 27, 2023 in the separate Adversary Proceeding #21-3076 by one of the same

Movants that is a defendant therein.3 It appears that some of the same arguments are made in the

Fourth Motion to Recuse with one significant new argument: Movant believes that a character in

one of the fiction legal thriller novels written by the Presiding Judge is based on Mr. James




3
 See HCMFA’s Motion to Recuse pursuant to [2]8 U.S.C. §§ 144 and 455 and brief in support [Adv. Pro. No. 21-
3076 DE ## 309, 310]. The court notes anecdotally that this Fourth Motion to Recuse was filed several hours after the
bankruptcy court issued an opinion and order conforming the Highland Plan to the ruling of the Fifth Circuit. It may
very well be coincidental, but the various motions to recuse have each followed on the heels of a significant case
development that Movants may perceive to be adverse to their interests —i.e., the Plan confirmation order; affirmance
by the Fifth Circuit of the Plan confirmation order; denial of a stay by the Fifth Circuit of its ruling on the confirmation
order; a ruling of the bankruptcy court conforming the Plan to the Fifth Circuit’s ruling. Again, this may be purely
coincidental.

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Dondero and, thus, shows the Presiding Judge has a bias towards him or the hedge fund industry

generally. This court will separately rule on the Fourth Motion to Recuse in due course, after the

parties have had the chance to respond.

        II.      THE SPECIFIC GROUNDS URGED IN THE CURRENT MOTION.


        Movants are requesting that the Presiding Judge recuse herself from presiding over the

Chapter 11 case of Highland (all of it). With regard to the specific grounds urged by Movants,

they state that they perceive the Presiding Judge has animus towards Mr. Dondero and parties connected with

him or deemed under his control (the “Affected Entities”). Mr. Dondero and the Affected Entities argue that

the Presiding Judge’s impartiality can be reasonably questioned. Specifically, they express concerns that the

Presiding Judge formed negative opinions of Mr. Dondero in a prior bankruptcy case over which the Presiding

Judge presided (In re Acis Capital Management, L.P., Case No. 18-30264);4 that those opinions have

supposedly carried over to the Highland case; that the Presiding Judge has been unable to extricate those

opinions from her mind; and that this has resulted in an actual bias against Mr. Dondero that has prejudiced or

is prejudicing him and the Affected Entities.

        Accordingly, the Movants ask that the Presiding Judge recuse herself from any future contested

matters and adversary proceedings arising in the Highland case.

        III.     RELEVANT CASE BACKGROUND.

        By way of further background, the Highland case has been pending since October 16, 2019. It was

filed in the Bankruptcy Court for the District of Delaware. Venue was transferred to the Bankruptcy Court for


4   Acis Capital Management, L.P. (“Acis”) was formerly a company in the Highland corporate organizational
structure.

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the Northern District of Texas, Dallas Division, on motion of the Official Unsecured Creditors Committee

(“UCC”) on December 4, 2019. The UCC in this case consisted of non-insider creditors asserting more than

$1 billion worth of claims against the Debtor.

        On January 9, 2020, a significant corporate governance settlement between Highland and the UCC

was reached and presented to this court. It was approximately one month after the Highland case was

transferred to the Presiding Judge. The settlement involved the removal of Mr. Dondero as CEO and from all

decision making at Highland, at the insistence of the UCC, and an entirely new corporate governance structure

was imposed on the Debtor, with extensive oversight by the UCC. This new corporate governance structure

was negotiated by the Debtor under pressure from both the UCC and the United States Trustee—both of whom

expressed positions that a Chapter 11 Trustee should be appointed in this case due to Mr. Dondero’s alleged

conflicts of interest, inability to act as a fiduciary, and purported mismanagement. Mr. Dondero signed off on

the corporate governance settlement and this court approved it. A new three-member independent board

controlled the Debtor for the remainder of the bankruptcy case until the Plan went effective in August 2021.

That board consisted of a retired bankruptcy judge (Russell Nelms); a second individual with extensive

experience serving as an independent board member of companies undergoing bankruptcy or restructuring

(John Dubel); and a third individual (later appointed CEO) with broad experience managing distressed debt

investments and other products similar to what Highland managed (James P. Seery). Mr. Dondero stayed on

with Highland during the entire first year of the bankruptcy case (through October 2020), as an unpaid portfolio

manager, but with no governance role, at the request of the Debtor. The UCC acquiesced to that arrangement

(although they had not negotiated this and expressed reservations about Mr. Dondero’s role—albeit limited).

The United States Trustee was opposed to the new corporate government structure and preferred a Chapter 11

Trustee instead. This court overruled the United States Trustee’s objection and determined that the corporate

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governance structure negotiated by the UCC was more likely to preserve value and foster reorganization efforts

than the more drastic step of appointing a Chapter 11 Trustee.

        After more than a year, under direction of the new board, Highland obtained confirmation of a Chapter

11 Plan on February 22, 2021. The Plan was proposed after many months of contentiousness with several

large creditors and the UCC. In fact, in August 2020, the bankruptcy court required the key parties to stand

down and engage in mediation before two respected co-mediators (Retired Bankruptcy Judge Allan Gropper,

S.D.N.Y. and Attorney/Mediator Sylvia Mayer, Houston). Highland (either during or after mediation) reached

key settlements with the largest creditors in this case (including Acis, which asserted more than a $70 million

disputed claim; the Redeemer Committee for the Crusader Fund, which asserted more than a $250 million

claim and had been in litigation in multiple fora with Highland and affiliates for approximately a decade; and

UBS Securities, which asserted more than a $1 billion claim and had also been in litigation with Highland and

certain affiliates for more than a decade). Mr. Dondero participated in the mediation, but settlements were not

reached with him. The independent board members asked for Mr. Dondero’s resignation from Highland in

October 2020 (i.e., from his role as a portfolio manager). At this point, things became very contentious among

the Movants and the Debtor; dozens of contested motions and objections were filed among the Movants and

Debtor. Accusations were made by the Debtor that Mr. Dondero was interfering with Highland business,

employees, and had even destroyed a company phone to hide evidence. TROs were sought and obtained.

Finally, the court confirmed the Plan in February 2021. The Plan was supported by the UCC and

overwhelmingly (99%+) by non-insider creditors. Other large, non-insider creditors that supported the Plan,

besides those mentioned above, were Patrick Daugherty (a former executive of Highland who has been in

litigation with Highland and Mr. Dondero for more than a decade) and HarbourVest—each of whom asserted

multi-million dollar claims in this case. In any event, the Movants appealed the confirmation order, and it was

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affirmed in substantial part by the Fifth Circuit. The plan has been in effect since August 2021.




        IV.      LEGAL STANDARD APPLICABLE TO THE MOTION TO RECUSE.

        Before addressing the substance of the Third Motion to Recuse, the court will address the

governing legal authority: 28 U.S.C. § 455, Fed. R. Bankr. P. 5004(a), and certain case law

interpreting same. The relevant portions of 28 U.S.C. § 455 provide that:

               (a) Any justice, judge, or magistrate judge of the United States shall
        disqualify himself in any proceeding in which his impartiality might reasonably be
        questioned.

                 (b) He shall also disqualify himself in the following circumstances:

                   (1) Where he has a personal bias or prejudice concerning a party, or
        personal knowledge of disputed evidentiary facts concerning the proceeding; . . . .

28 U.S.C. § 455(a) & (b)(1).

        Bankruptcy Rule 5004(a) further provides that, “A bankruptcy judge shall be governed by

28 U.S.C. § 455, and disqualified from presiding over the proceeding or contested matter in which

the disqualifying circumstance arises or, if appropriate, shall be disqualified from presiding over

the case.”

        A. Timeliness?

        The court first notes that the applicable statute and rule do not address the concept of

timeliness of a motion to recuse. However, several courts have taken timeliness into account.

          The Fifth Circuit has noted, in Delesdernier v. Porterie, 666 F.2d 116 (5th Cir. 1982),

that, while there were arguments in favor of not reading a timeliness requirement into the statute,




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“the lack of a timeliness rule has its own problems.”5 The Fifth Circuit, in concluding that it was

“convinced that timeliness may not be disregarded in all cases regarding disqualification under §

455(a),” stated,6

        Lack of a timeliness requirement encourages speculation and converts the serious
        and laudatory business of insuring judicial fairness into a mere litigation stratagem.
        Congress did not enact § 455 to allow counsel to make a game of the federal
        judiciary’s ethical obligations; we should seek to preserve the integrity of the statute
        by discouraging bad faith manipulation of its rules for litigious advantage.

Regarding the specific motion for disqualification of a district court judge in that case, the Fifth

Circuit notes “that the motion raised for the first time on appeal, and after two full trials on the

merits, is too tardily made for us to consider it now.”7

        B. Hearing Needed? If So, Who Presides?

        The court next notes that the applicable statute and rule do not expressly state whether the

presiding judge or some other judge should decide a motion to recuse/disqualify or whether a

hearing—evidentiary or otherwise—is required.

        Case authority has interpreted the provisions set forth above to give the targeted judge

authority (at least initially) to decide a motion to disqualify. United States v. Bremers, 195 F.3d

221, 226 (5th Cir. 1999) (a motion to recuse is committed to the discretion of the targeted judge,

and the denial of such motion will only be reversed upon the showing of an abuse of discretion);

Wilborn v. Wells Fargo Bank, N.A. (In re Wilborn), 401 B.R. 848, 851 (Bankr. S.D.Tex. 2009)

(citing United States v. Mizell, 88 F.3d 288, 299 (5th Cir. 1996) (the targeted judge has broad


5
  Delesdernier, 666 F.2d at 121.
6
  Id.
7
  Id. at 122-23. The Ninth Circuit and Tenth Circuit have also taken timeliness into account when considering a §
455 motion for recusal. See Davies v. C.I.R, 68 F.3d 1129, 1130-31 (9th Cir. 1995)(a motion for recusal filed “one
year after a ruling was considered untimely.”); Willner v. Univ. of Kansas, 848 F.2d 1023 (10th Cir. 1988).

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discretion in determining whether disqualification is appropriate)).8

         Additionally, the court notes that the applicable statute and rule do not expressly state what

type of hearing is required, if any.                 Case authority has interpreted that a motion for

disqualification does not necessarily confer upon a movant a right to make a record in open court,

nor does it confer upon them a right to an evidentiary hearing. Lieb v. Tillman (In re Lieb), 112

B.R. 830, 835-36 (Bankr. W.D. Tex. 1990).                   See generally 13A C. Wright, A. Miller & E.

Cooper, Federal Practice and Procedure § 3550, at 629 (a section 455 motion can be supported

by an affidavit, a verified memorandum, or a statement of facts in some form). The procedure

for a targeted judge to follow, as set forth in Levitt v. University of Texas, 847 F.2d 221, 226 (5th

Cir. 1988), and as more specifically articulated in Lieb v. Tillman, 112 B.R. at 836, is: (a) first,

the targeted judge should decide whether the “claim asserted” by the movants “rises to the

threshold standard of raising a doubt in the mind of a reasonable observer” as to the judge’s

impartiality; (b) if not, then the judge should not recuse himself; and (c) if so, another judge

should “decide what the facts are,” i.e., hold an evidentiary hearing, and presumably then this

other judge would decide whether disqualification is appropriate. If a movant appeals a decision

not to disqualify or recuse and the district court finds the record and documents submitted to be

inadequate for a determination, it may remand and direct another judge to conduct an evidentiary

hearing to enlarge the record. Such procedure is consistent with Levitt. See Lieb v.Tillman, 112

B.R. at 836.




8
  The Fifth Circuit discourages transfer of a disqualification motion because “[t]he challenged judge is most familiar
with the alleged bias or conflict of interest” and “is in the best position to protect the nonmoving parties from dilatory
tactics.” Chitimacha Tribe of La. v. Harry L. Laws Co., 690 F.2d 1157, 1162 (5th Cir. 1982).

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           C. Motions to Recuse are Very Fact-Specific.

           Next, with regard to evaluating a motion to recuse, the Fifth Circuit has recognized

thatsection 455(a) claims are fact-driven, and as a result, the analysis of a particular section 455(a)

claim must be guided, not by a comparison to similar situations addressed by prior jurisprudence,

but rather by an independent examination of the unique facts and circumstances of the particular

claim at issue. United States v. Jordan, 49 F.3d 152, 157 (5th Cir. 1995). Disqualification is

appropriate if a reasonable person, knowing all of the relevant circumstances, would harbor doubts

about the impartiality of the judge. Chitimacha Tribe, 690 F.2d at 1165.

           D. On the Topic of Bias or Animus.

           As a matter of law, the existence of clashes between the court and counsel for a party is an

insufficient basis for disqualification, and “Circuit Courts have refused to base disqualification

under section 455 upon apparent animosity towards counsel.” In re Lieb, 112 B.R. at 835 (citing

Davis v. Board of School Comm’rs, 517 F.2d 1044, 1050-52 (5th Cir. 1975)(holding that

disqualification should be determined “on the basis of conduct which shows a bias or prejudice or

lack of impartiality by focusing on a party rather than counsel.”))(other citations omitted); see also,

Focus Media, Inc. v. NBC (In re Focus Media), 378 F.3d 916, 929-31 (9th Cir. 2004) (adverse

rulings and negative remarks ordinarily do not support a bias challenge). More significant, the

U.S. Supreme Court has stated that “expressions of impatience, dissatisfaction, annoyance, and

even anger, that are within the bounds of what imperfect men and women, even after having been

confirmed as federal judges, sometimes display” do not establish bias or partiality” and that9

           judicial remarks during the course of a trial that are critical or disapproving of, or
           even hostile to, counsel, the parties, or their cases, ordinarily do not support a bias

9
    Liteky v. United States, 510 U.S. 540, 555-556 (1994).

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            or partiality challenge. They may do so if they reveal an opinion that derives from
            an extrajudicial source; and they will do so if they reveal such a high degree of
            favoritism or antagonism as to make fair judgment impossible.

            What might amount to a “high degree of favoritism or antagonism”? The example given

by the Liteky Court was a 1921, WWI-espionage case where the District Court Judge allegedly

said of the German American defendants: “‘One must have a very judicial mind, indeed, not [to

be] prejudiced against the German Americans’ because their ‘hearts are reeking with disloyalty.’”

A very recent Fifth Circuit case echoes these principles as well. In Brocato, the court noted that

“a judge is not generally required to recuse for bias, even if the judge is ‘exceedingly ill disposed

towards the defendant,’ when the judge’s ‘knowledge and the opinion it produced were properly

and necessarily acquired in the course of the proceedings[.]’”10

            V.       THE UNIQUE FACTS AND CIRCUMSTANCES APPLICABLE HERE.

            First, the court determines that the Third Motion to Recuse and the previous motions to

recuse have not been timely. Again, the original one was filed more than 15 months after the

Presiding Judge was transferred the Highland case from Delaware. It was the 2060th pleading on

the docket maintained in the bankruptcy case (this does not count the docket entries in the nine,

separate adversary proceedings related to the Highland case), and it was filed after many dozens

of orders had been issued by the court, including the confirmation order that was subsequently

affirmed on appeal. The current Third Motion to Recuse was the 3570th pleading on the docket of

the bankruptcy case and was filed exactly three years after the bankruptcy case was filed. The

timing does not seem to pass muster—if, indeed, timeliness is a factor, as Circuit-level authority

has suggested.

10
     United States v. Brocato, 4 F.4th 296, 302-03 (5th Cir. 2021).

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       But, since the Third Motion to Recuse—and all of them for that matter—raise serious

issues, the court will nevertheless analyze the pending motion as though it is timely. The court

will address whether the overall circumstances might cause a reasonable observer to question or

harbor doubts about the bankruptcy court’s impartiality. Would the claims asserted in the Third

Motion to Recuse rise to the threshold standard of raising a doubt in the mind of a reasonable

observer as to the court’s impartiality?

       A. The Acis Case.

       The Third Motion to Recuse revisits the Acis bankruptcy case and suggests that the

Presiding Judge gained extrajudicial knowledge and developed opinions of Mr. Dondero and the

Affected Entities during that case and that this has created animus or bias towards them in the

Highland bankruptcy case and related adversary proceedings. Evaluating this contention requires

some examination of just what the bankruptcy court heard and adjudicated in the Acis case.

       Acis Capital Management, L.P. (“Acis LP”), a Delaware limited partnership, and Acis

Capital Management GP, L.L.C. (“Acis GP/LLC”), a Delaware limited liability company—were

two entities within the approximately 2,000-entity organizational structure of Highland that were

forced into an involuntary bankruptcy case in January 2018 (for convenience, the court will

collectively refer to them as “Acis”). The Presiding Judge presided over the Acis case. Mr.

Dondero was the president of the two Acis debtors, as well as the CEO of Highland at the time.

The Presiding Judge’s recollection is that Mr. Dondero testified only once during the lengthy Acis

proceedings (during the trial on the involuntary petitions in the Spring of 2018) and, at all other

times, various inhouse counsel at Highland (Scott Ellington, Isaac Leventon, and J.P. Sevilla)

served as the witnesses for Acis and Highland.

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       As far as “extrajudicial knowledge,” what the Presiding Judge learned from the Acis case

was largely regarding the “CLO Industry.” The court learned that Highland was a pioneer, among

registered investment advisors, in the securitization investment product known as a “CLO”

(collateralized loan obligations) and Acis, for many years, was the vehicle through which

Highland’s CLO business was managed. The court learned about the typical structure of these

CLOs (the various tranches of debt and the rights they enjoyed), the typical governing documents

for and life cycle of a CLO, the typical portfolio management agreements, the shared services

agreements, and the sub-advisory agreements that undergirded the whole operation. The court

learned about Highland’s role in these and the role of Acis, historically, and the role of an entity

known as Highland CLO Funding “(“HCLOF”). If the Presiding Judge made any specific rulings

with regard to Mr. Dondero or the Affected Entities during the Acis case, she cannot recall. The

court certainly does recall accusations made by Acis against Highland and HCLOF with regard

to alleged fraudulent transfers and alleged denuding of Acis assets to thwart a judgment creditor,

Josh Terry. The court has never ruled on the actual fraudulent transfer claims and, the claims (at

least among Acis and Highland) have been settled.

       In summary, the extrajudicial knowledge—if it should be considered that—the Presiding

Judge gained from the Acis case, that is now suggested to have created bias or animus, was

knowledge about the highly complex CLO products industry, knowledge about the forms of

agreements that typically set forth parties’ rights and obligations, and some knowledge about the

Highland business structure and the shared services and sub-advisory services model it typically

used. The Presiding Judge, at all times, has been aware that Mr. Dondero was a founder of

Highland and was the President of Acis and CEO of Highland at relevant times. To be clear, a

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Chapter 11 Trustee was appointed in the Acis case soon after an order for relief was entered, and

the Presiding Judge only recalls Mr. Dondero testifying once in court during the Acis case. The

Presiding Judge has a vague recollection that deposition testimony may have been presented at

another time. The court cannot recall any of the other Affected Entities ever being parties

appearing in the Acis case or providing testimony.

         Assuming, arguendo, that the Presiding Judge gained some knowledge about Highland and

at least one of the Movants (i.e., Mr. Dondero) from the Acis case, the governing case law suggests

that this sort of awareness would not qualify as extrajudicial knowledge.11 In Tejero, for example,

the Fifth Circuit made it clear that a judge’s knowledge of a party gained from previous cases

involving that party does not qualify as extrajudicial knowledge.12 There, the judge relied on

knowledge gained from presiding over three previous cases involving the party that moved for the

judge’s recusal.13

         The court notes, anecdotally, that 28 U.S.C. § 1408(2) contemplates that venue is proper

over a case “in which there is pending a case under title 11 concerning such person’s affiliate,

general partner, or partnership.” Thus, it is not per se improper (in fact, it is generally proper) for

a presiding judge to preside over cases of affiliated business entities of a party. It happens all the

time.

         Without showing that the Presiding Judge relied on extrajudicial knowledge to form her

opinion, the Movants bear the burden of showing that the Presiding Judge ‘display[ed] a deep-



11
   See, e.g., Liteky, 510 U.S. at 555-556; Tejero v. Portfolio Recovery Assocs., L.L.C., 955 F.3d 453, 463-64 (5th Cir.
2020).
12
   See Tejero, 955 F.3d at 463 (citing United States v. Reagan 725 F.3d 471, 491 (5th Cir. 2013)).
13
   See id.

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seated favoritism or antagonism that would make fair judgment impossible.14

           B. Bias or Animus, More Generally?

           More generally, the court does not believe that the provisions of 28 U.S.C. § 455 are

implicated here. The Presiding Judge does not believe she harbors, or has shown, any personal

bias or prejudice against the Movants. She does not believe she has displayed deep-seated

favoritism or antagonism.

           As earlier mentioned, case law has held that clashes between a court and counsel for a party

is an insufficient basis for disqualification, and courts “have refused to base disqualification under

section 455 upon apparent animosity towards counsel.” In re Lieb, 112 B.R. at 835 (citing Davis

v. Board of School Comm’rs, 517 F.2d 1044, 1050-52 (5th Cir. 1975)(holding that disqualification

should be determined “on the basis of conduct which shows a bias or prejudice or lack of

impartiality by focusing on a party rather than counsel.”))(other citations omitted). Not only has

this court shown proper respect for Mr. Dondero’s and each of the Affected Entities’ counsel, but

the court has no disrespect or animus toward Mr. Dondero on a personal level or any of the

Movants. This court desperately wants to believe (and has, and always will, keep its mind open

to the belief) that the foremost goal of the Movants is to preserve their economic and proprietary

rights—even though, over time, things have gotten more and more contentious and even seemingly

personal among certain parties (the court is reminded of when the former general counsel of

Highland sued another prior general counsel of Highland for “stalking” him, and the suit was

removed from the state court to the bankruptcy court; the bankruptcy court swiftly remanded it




14
     Liteky, 510 U.S. at 555.

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back to state court—believing it had no place in a business reorganization). In any event, the

Presiding Judge has commented several times that she believes Mr. Dondero, more than anything

else, just wanted to get the company he built back. The Presiding Judge has said this, in spite of

hearing sworn testimony that Mr. Dondero has threatened out of court to “burn the place down” if

he cannot get what he believes he should get from the bankruptcy process.

       This court has merely addressed motions, objections, and other pleadings as they have been

presented. It has issued and enforced orders when requested and warranted. This court has

provided Movants with a full and fair opportunity to present and pursue their objections and

motions. In many situations, the court has issued very lengthy findings of fact and conclusions of

law, opinions, or reports and recommendations to the District Court. Sometimes Movants have

appealed (in fact, more than two dozen times) and many times they did not. This court’s rulings

have mostly been affirmed or otherwise undisturbed in the appeals that have been resolved so far.

       C. Misstatements, Partial Descriptions, or Misunderstandings of Various Case Events.

       Regrettably, the brief in support of the Third Motion to Recuse (filed by counsel who never

appeared during the bankruptcy case until filing the First Motion to Recuse) contains several

misstatements or partial descriptions of events during the case, in several places, that create

misimpressions. Some of the more problematic examples of this are set forth below (in no

particular order).

       The Bankruptcy Court’s Orders Requiring Mr. Dondero’s (and Allegedly His Sister’s?)

Attendance at Bankruptcy Court Hearings. In the brief in support of the Third Motion to Recuse,

Movants assert as one example of the Presiding Judge’s alleged bias, certain of her orders—entered

in January 2021, May 2021, and June 2021—“target[ing] Mr. Dondero (as well as his sister Nancy

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        Dondero) by requiring their presence at all hearings, regardless of whether their presence is

        needed.” Third Motion to Recuse (brief in support), at p. 16 [DE # 3542]. This entirely misstates

        what happened.

                First, almost 100% of the dozens of Highland hearings over the last 3+ years have been

        conducted virtually through WebEx (due to COVID and the large number of out-of-town

        participants). The court does not believe Nancy Dondero has ever physically been in the

        bankruptcy court, and Mr. Dondero rarely has. Certainly, they have never been penalized for that.

                More importantly, what Movants omit was that, during a January 8, 2021 hearing to

        determine whether the court should grant a requested preliminary injunction against Mr. Dondero

        (regarding his alleged interference with the Debtor’s business and certain employees of the

        Debtor), Mr. Dondero testified that he had not attended an earlier TRO hearing regarding this

        alleged conduct, nor read the transcript from the hearing, nor read the TRO itself to know what

        conduct it addressed.15 The bankruptcy court was concerned that Mr. Dondero’s failure to attend

        or participate in bankruptcy court hearings that impacted him or might result in obligations

        imposed upon him would create an opportunity for “plausible deniability.” Thus, this court ordered

        Mr. Dondero to appear at all hearings to ensure both awareness of and compliance with this court’s

        orders. Again, these were almost always video hearings. Mr. Dondero subsequently failed to

        appear at a hearing, thereby validating the court’s concerns. Consequently, this court entered an

        order on May 24, 2021, clarifying that Mr. Dondero was required to appear at all hearings in the

        bankruptcy case [DE # 2362]. Notably, Mr. Dondero did not appeal the preliminary injunction or



        15
           See DE # 3596, Ex. 31, Appx. 3755 (“Q … At least as of today, you never bothered to read the TRO that was
entered against you, correct? A Correct.”).

                                                               19
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the May 24, 2021 order.

        More generally, it is not atypical for this bankruptcy court to order principals of a party to

appear at hearings when there are concerns regarding: (a) the contentiousness of a case, or (b)

whether clients and lawyers are completely in sync and in communication with each other.

        As for Nancy Dondero, the bankruptcy court has never ordered Nancy Dondero to appear

at any hearings. Instead, on June 17, 2021, the court ordered the trustee of the Dugaboy and Get

Good Trusts (i.e., Mr. Dondero’s family trusts) to appear at all hearings and proceedings but only

“where either of the Trusts are a party or take a position” [DE # 2458]. The trusts (Dugaboy, in

particular) have been very active during the bankruptcy case and the court believed their standing

was very tenuous. The court provided a detailed rationale for its order and it was never appealed.

Nevertheless, Movants now disturbingly assert that Nancy Dondero was required to appear at all

hearings “regardless of whether [her] presence [was] needed.”

        August 4, 2021 Order Finding Mr. Dondero in Contempt of Court. In the brief in support

of the Third Motion to Recuse, Movants cite an order entered by the bankruptcy court on August

4, 2021, holding Mr. Dondero in civil contempt of court [DE # 2660] (the “Contempt Order”), as

“[p]erhaps one of the most telling” examples of the Presiding Judge’s bias. Third Motion to

Recuse (brief in support), at p. 14-15 [DE # 3571]. Movants do not accurately or fully describe

the facts leading up to entry of this Contempt Order (which was appealed and affirmed in all

material respects).16

        First, the Contempt Order stemmed from an April 12, 2021 complaint (the “HarbourVest



16
  Charitable DAF Fund L.P. v. Highland Cap. Mgmt., L.P., 2022 U.S. Dist. LEXIS 175778 (N.D. Tex. Sept. 28,
2022). The only finding not affirmed was the payment of $100,000 if an unsuccessful appeal was filed.

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Complaint”) filed against Highland in the District Court, by an entity known as CLO Holdco and

its parent company that is referred to as the “DAF”—both believed to be under the control of Mr.

Dondero (more on that below). The HarbourVest Complaint was filed less than two months after

Highland’s Plan was confirmed and before it went effective. Movants allege that the HarbourVest

Complaint addressed Highland’s “brokering [during the bankruptcy case] the sale of CLO interests

held by HarbourVest … without prior notice to other CLO investors and without respecting those

investors’ right of first refusal” in violation of some alleged duty. Third Motion to Recuse (brief

in support), at 14. This is an inaccurate description of the events in the bankruptcy case that are

the subject of the HarbourVest Complaint, and it also does not make clear why the bankruptcy

court was motivated to enter the Contempt Order regarding the filing of the HarbourVest

Complaint.

       The facts were that, prior to Highland’s bankruptcy case, a third-party unrelated to

Highland called HarbourVest purchased a 49.98% equity interest in a non-Debtor entity called

HCLOF for approximately $80 million. Highland and the entity CLO Holdco also owned equity

interests in HCLOF. After Highland’s bankruptcy, HarbourVest filed claims against Highland in

excess of $300 million and sought rescission of its investment in HCLOF, alleging it was

fraudulently induced by factual misrepresentations and omissions made by Mr. Dondero and

certain of Highland’s employees prior to the bankruptcy case. Highland and HarbourVest settled

HarbourVest’s claims, and Highland filed a Rule 9019 motion seeking court approval of the

settlement. DE # 1625. The motion for approval of the settlement went out on normal notice to

creditors and parties-in-interest in the bankruptcy case. Under the settlement, HarbourVest

received allowed claims in the bankruptcy case totaling $80 million in the aggregate and

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transferred its interests in HCLOF to a Highland subsidiary, effectively rescinding HarbourVest’s

investment in HCLOF. All aspects of the settlement were publicly disclosed in Highland’s motion.

DE # 1625. Mr. Dondero, his family trusts, and CLO Holdco (the same entity that later filed the

HarbourVest Complaint) all objected to the settlement with HarbourVest. CLO Holdco argued it

had a right of first refusal to HarbourVest’s 49.98% interest in HCLOF. However, after reviewing

Highland’s pleadings, HCLOF’s governing documents, and applicable law, CLO Holdco

announced through counsel at a bankruptcy court hearing on the settlement that it had determined

it had no such right and withdrew its objection. The bankruptcy court approved the settlement,

including the transfer of HarbourVest’s 49.98% interest in HCLOF to Highland and/or its

designee.

         Then, three months later, CLO Holdco and its parent company DAF filed the HarbourVest

Complaint seeking, among other things, to enforce CLO Holdco’s alleged right of first refusal—a

right CLO Holdco had conceded did not exist in open bankruptcy court. The HarbourVest

Complaint raises claims against Highland for breaches of fiduciary duty under the Investment

Advisers Act17 and/or state law, breach of contract, negligence, violations of the Racketeer

Influenced and Corrupt Organizations statute (15 U.S.C. § 1961, et seq. (“RICO”)), and tortious

interference—all relating to the settlement that the bankruptcy court had approved on notice to

creditors and after an evidentiary hearing. With regard to the RICO count, CLO Holdco and DAF


17
   While specific statutory references to the federal Investment Advisers Act are sparse in the HarbourVest Complaint,
subsequent pleadings of the Plaintiffs made clear they are referring to at least 15 U.S.C. § 80b-6 and 80b-15(a) (which
they cite as imposing both a duty of care and a duty of loyalty, each unwaivable, on investment advisors, in favor of
funds and its investors, citing SEC v. Tambone, 550 F.3d 106, 146 (1st Cir. 2008)); 15 U.S.C. § 206(2) (which they
cite as requiring investment advisers to seek “best execution” for all their clients’ transactions, citing SEC v.
Ambassador Advisors, LLC, 576 F. Supp. 3d 286, 300 (E.D. Pa. 2021)); and 15 U.S.C. § 215 (which they cite as
recognizing “a limited private right of action for equitable relief including disgorgement, wherein one may seek to
void the rights of a violator who performs a contract in violation of the Advisers Act”).

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alleged that Highland and certain co-Defendants it named were an “association-in-fact” engaged

in a pattern of racketeering activity for failing to disclose the valuation of the 49.98% equity

interest and ultimately effectuating the HarbourVest Settlement. Shortly thereafter, CLO Holdco

sought to add Mr. James Seery (Highland’s CEO) as a defendant in clear violation of various

bankruptcy court orders [e.g., DE # 854]. Accordingly, the bankruptcy court, after an evidentiary

hearing, issued the Contempt Order finding Mr. Dondero and others in contempt. To be clear, not

only were the Plaintiffs seeking to sue Mr. Seery in violation of bankruptcy court orders, but this

had the appearance of an end-run around the bankruptcy court—i.e., suing a Debtor (Highland was

still a Debtor, with a confirmed plan that had not reached its effective date) for post-petition

conduct that had been approved by the bankruptcy court after notice to creditors, and, all the while,

one of the plaintiffs had objected to the post-petition conduct, by objecting to the HarbourVest

Settlement, and then withdrew such objection. Moreover, even if there was a legal theory to pursue

claims against Highland regarding the whole HarbourVest Settlement, there was a process for

pursuing administrative claims in the confirmation order and Plan, and this process had not been

followed.

       Movants state in their brief in support of their Third Motion to Recuse, at p. 15, that Mr.

Dondero credibly testified “he was not involved at all in authorizing or preparing the motion to

add Mr. Seery” to the HarbourVest Complaint and that there was no evidence to the contrary. This

is directly contradicted by the actual record. As the District Court explained when affirming the

bankruptcy court’s Contempt Order:

              Ample evidence supports the bankruptcy court’s factual findings. Dondero
       has had a significant role in DAF for over a decade. DAF’s assets come in part
       from Dondero and his “family trusts.” Dondero “was DAF’s managing member

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           until 2012,” and he remains “DAF’s informal investment advisor.” After Dondero
           stepped down as managing member, that role went to Grant Scott, “Dondero's long-
           time friend, college housemate, and best man at his wedding.” Scott ultimately
           resigned due to “disagreements with … Dondero.”

                   [Mark] Patrick replaced Scott as “DAF’s general manager on March 24,
           2021”—19 days before the Seery Motion. Patrick initially had “no reason to
           believe that Mr. Seery had done anything wrong with respect to the HarbourVest
           transaction.” Only once “Dondero told [him] that an investment opportunity was
           essentially usurped” did Patrick “engage[] the Sbaiti firm to launch an
           investigation” and ask “Mr. Dondero to work with the Sbaiti firm with respect to
           their investigation of the underlying facts.” After that, Dondero “communicated
           directly with the Sbaiti firm”—Patrick did not. Dondero “saw versions of the
           complaint before it was filed” and had “conversations with attorneys” about the
           complaint pre-filing. That complaint focused on “Seery’s allegedly deceitful
           conduct” and “mention[ed] Mr. Seery 50 times.” Further, when listing the parties,
           the complaint listed each party named in the caption along with “[p]otential party
           James P. Seery, Jr.,” providing his citizenship and domicile.

                   Further, although Dondero averred that he did not direct the Sbaiti firm to
           add Seery to the complaint, Dondero also contradicted himself, first claiming that
           he did not know that “the Sbaiti firm intended to file a motion for leave to amend
           their complaint to add Mr. Seery,” but then agreeing during the hearing that he
           “[p]robably” was “aware that that motion was going to be filed prior to the time
           that it actually was filed.” He also testified to conversations about the Seery
           Motion, noting that it involved a “very complicated legal preservation” issue.

                    Based on all that evidence, the Court is not left with a definite and firm
           conviction that the bankruptcy court erred. After being stymied in the bankruptcy
           court, Dondero manufactured the exigency for the lawsuit that challenged Seery’s
           conduct. Dondero’s claim that he “did not suggest that Mr. Seery should be added
           as a defendant” is not credible. Dondero gave Patrick the idea of challenging
           Seery’s conduct, and he worked with the Sbaiti firm to bring that idea to fruition in
           the complaint—a complaint that clearly contemplated adding Seery to the lawsuit.
           Likewise, his plea that he “had no involvement with the Seery Motion” is not
           credible. Dondero himself testified to the contents of attorney communications
           concerning the Seery Motion, eventually admitting that he “probably” had
           knowledge of the Motion before it was filed. In short, the bankruptcy court did not
           err, after considering the “totality of the evidence,” in finding that Dondero had
           “the idea of” suing to “challenge Mr. Seery’s … conduct,” that he “encouraged Mr.
           Patrick to do something wrong,” and that Patrick “abdicated responsibility to Mr.
           Dondero with regard to . . . executing the litigation strategy.”18

18
     Charitable DAF Fund, L.P., 2022 U.S. Dist. LEXIS 175778, at **18-21.

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           The District Court, like the bankruptcy court, included ample citations to the record,

including the direct testimony of both Mr. Dondero and Mr. Mark Patrick, to support its factual

findings concerning Mr. Dondero’s direct involvement in violating the bankruptcy court’s orders

and processes.

           Finally, Movants allegations about the lack of support for the amount of bankruptcy court’s

sanctions is incorrect. Movants alleged that Highland submitted invoices showing it had incurred

just $38,796.50 defending against Mr. Dondero’s contempt in connection with the HarbourVest

Complaint. But, in fact, Highland submitted invoices for $187,795. [DE # 2421-1, 2421-2; Ex.

34, Appx. 4048-4102]. The bankruptcy court added to that amount to compensate for additional

costs, and the bankruptcy court’s sanction of $239,655 was affirmed by the District Court.19

           Hearing on Debtor’s Application to Employ Foley Gardere as Special Counsel on February

19, 2020. The bankruptcy court held a hearing early in the bankruptcy case on Debtor’s application

to retain the law firm Foley Gardere to pursue appeals of the Acis involuntary petition and the Acis

confirmation order (the “Application to Employ”) on behalf of Neutra Ltd. (which is or was a

company owned by Mr. Dondero). During this hearing, retired Bankruptcy Judge Russell Nelms,

one of the three independent directors appointed to Debtor’s new board, testified that, as to the

board’s business judgment, the Application to Employ was considered by the independent

directors, and they concluded that it was in the Debtor’s best interest for Foley Gardere to perform

this legal work. Movants assert that, despite this testimony, the bankruptcy court displayed a

predisposition to contest positions that could possibly benefit Mr. Dondero on the pre-determined


19
     Id. at **13-17.

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basis that any person sharing an opinion with Mr. Dondero (including, apparently, a member of

the independent board) was somehow being unduly influenced by him).

          Movants are less-than-clear regarding the bankruptcy court’s comments and concerns

regarding the Foley Gardere Application. To be clear, through the Foley Gardere Application,

Highland sought to retain Foley Gardere on behalf of both Highland and the non-Debtor entity,

Neutra Ltd., in the appeal of the Acis confirmation order and related matters (the “Acis Appeal”).

In support of the Foley Gardere Application, Highland disclosed that: (a) Neutra Ltd. was owned

by Mr. Dondero and his partner, Mark Okada, and (b) Highland intended to pay for Foley

Gardere’s representation of Neutra Ltd. in the Acis Appeal. The UCC and Acis objected to the

Foley Gardere Application on the ground that Highland should not be permitted to use estate

assets to support Neutra, a Dondero-controlled entity. [DE # 120]

          Mr. Nelms testified in support of the Foley Gardere Application and was subject to a

lengthy cross-examination.20         The bankruptcy court approved Highland’s retention of Foley

Gardere but determined that the evidence was insufficient to justify expending estate assets to pay

Neutra, Ltd.’s legal fees, a non-Debtor entity in which Highland held no interest.21           The

bankruptcy court’s ruling on the Foley Gardere Application was based on its determination that

Highland failed to prove that the estate would benefit by paying a non-Debtor’s (Neutra Ltd.’s)

legal fees. The bankruptcy court stated: “I cannot believe there is a chance in the world there is

economic benefit to Highland if these things get reversed. Economic benefit to Neutra: Yeah,

maybe. . . . But benefit to Highland? I just don't think the evidence has been there to convince me



20
     DE # 3596, Ex. 24, Appx. 3086-3142.
21
     Id. Appx. 3204-3209.

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it’s reasonable business judgment for Highland to pay the legal fees associated with the appeal.”22

          The bankruptcy court is at a loss to understand how its comments on the Foley Gardere

Application constitute a manifestation of bias towards Mr. Dondero or Movants.

          The January 2021 Examiner Motion. On January 14, 2021, Mr. Dondero’s family trusts,

requested the bankruptcy court exercise its discretion to direct the appointment of a neutral third-

party examiner pursuant to 11 U.S.C. § 1104(c) as an allegedly less costly means to resolve various

issues that had arisen in the Highland bankruptcy (the “Examiner Motion”). The Examiner Motion

was made 15 months after the case was filed, after months of global mediation had occurred, where

most of the significant claims against the estate had been settled, and less than three weeks before

the scheduled confirmation hearing, which the court had been told was likely to have support of

the major creditor constituencies. Despite the family trusts’ request, the bankruptcy court declined

to set that motion for an emergency hearing, meaning it was set for hearing in the ordinary course,

after the date of the confirmation hearing. It became moot after confirmation of the Plan—

although it would not have been moot if confirmation had been denied. Movants assert that the

court’s failure to set the Examiner Motion on an emergency basis shows bias. No creditor

supported the Examiner Motion. When the court ultimately denied the Examiner Motion, nobody

appealed.

          Questioning of Highland About Possibility of PPP Loans at the July 2020 Exclusivity

Hearing. Movants contend that certain questions of the bankruptcy court regarding COVID-

related “PPP loans” at a July 8, 2020 exclusivity hearing were evidence of bias against Mr.




22
     Id. Appx. 3205-3206.

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Dondero. As fully disclosed by this court, the inquiries were prompted by an extrajudicial source

(a newspaper article) that the Presiding Judge happened to read one day, which noted that “Mr.

Dondero or affiliates” received PPP loans. Because of the vagueness of the article, the bankruptcy

court sought information from Highland—not Movants—and ordered Highland to disclose any

PPP loans it had received post-petition. Highland responded to the court at a subsequent hearing

that Highland had not obtained any PPP loans. Neither Mr. Dondero nor any of his affiliated

entities were directed to provide any information, no action was taken against them, and the issue

was never raised again by the bankruptcy court. Movants’ suggestion that this somehow showed

biased towards them is hard to understand. The court was merely inquiring about the possibility

of Highland having obtained a post-petition COVID loan. Mr. Dondero was not even in control

of Highland at this time.23

         Court’s Usage of Terms Such as “Litigious” or “Vexatious.” This court and all courts

sometimes use strong words as part of managing complex and contentious cases. Did the Presiding

Judge ever refer to Mr. Dondero or Movants as “litigious”? Yes. This was based on evidence.

This was a view formed against the backdrop of having heard about more than a decade of

litigation with UCC members and certain other creditors in courts in Texas, Delaware, New York,

the Cayman Islands, Bermuda, and Guernsey.24 For example, one of the new, independent

directors of the Debtor, John Dubel—a man with decades of experience working on some of the



23
   In mid-2020, it was very unclear whether Chapter 11 debtors were eligible for PPP loans. The Presiding Judge was
hearing different things in different court hearings and in the press. The Presiding Judge was partly simply curious as
to whether Highland had been able to get one—in addition to being concerned it should be disclosed to creditors if it
did.
24
    An overview of prepetition litigation involving Highland and other Dondero-related parties is set forth in the
Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., DE #
1473 at 20-24.

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largest, most complex Chapter 11s around the country—credibly testified as follows:

                Q Did you form a view as to the causes of the bankruptcy filing?

                A Litigation. That was my clear view. This company had been in litigation
        with multiple parties, various different parties, since around 2008. Generally, you
        would see litigation like the types that were, you know, that were here, you know,
        you'd litigate for a while, then you’d try and settle it. It did not appear to me that
        there was any intention on the—the Debtor to settle these litigations, but would
        rather just continue the process and proceed forward on the litigation until the very
        last minute. And so it was obvious that this was going to—that the Debtor was a,
        as I said, a highly-litigious shop, and that was one of the causes, obviously, the
        cause of the filing, along with the fact that judgments were about to be entered
        against the Debtor.25

Continuing on, Mr. Dubel elaborated:

                Q And can you elaborate a little bit on I think you said you had done some
        diligence and you had formed a view as to the causes of the bankruptcy filing, but
        did this case present any specific concerns or issues that you and the board members
        had to address perhaps above and beyond what you experienced in some of the
        other cases you described?

                A Well, as I said earlier, the fact that the litigation -- the various litigations
        with the creditors have been going on for what I viewed as an inordinate amount of
        years, and that it was clear from my diligence that I had done that this had been
        directed by Mr. Dondero, to keep this moving forward in the litigation, and to, in
        essence, just, you know, never give up on the litigation.

               It was important that the types of protections that we were afforded in the
        January 9th order were put in place, because we—none of us—none of the three of
        us, and myself in particular, did not want to be in a position where we would be
        sued and harassed through lawsuits for the next, you know, ten years or so. That's
        not something anybody would want to sign up for.26

        Did the Presiding Judge ever use the term “vexatious”? Yes. This was as a result of

learning of the decade of unresolved litigation in the multiple fora set forth above. But it was also




25
   DE # 1894, pp. 271-272 (Transcript of Confirmation Hearing, 2/2/21, Testimony of Independent Director John
Dubel).
26
   Id. at 274.

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a perception formed after witnessing Movants and other Dondero-affiliates file over 50 proofs of

claim (most of which were later withdrawn). It was also a view that any reasonable person might

develop after reading the many dozens of motions; the many dozens of objections; and the many

dozens of appeals that were pursued by Movants in the bankruptcy case. It was also borne out

when multiple witnesses testified that there was a phenomenon in the insurance industry

colloquially referred to as the “Dondero Exclusion”—meaning that cost-effective liability

insurance could not be obtained for the officers of Highland because of the company’s historical

inclination toward litigation.

       For example, the new Highland CEO, Mr. James Seery, credibly testified on direct

examination by Debtor’s counsel as follows:

              Q Did you have any involvement in the Debtor's efforts to obtain D&O
       insurance for the independent board?

               A I did.

             Q Can you just describe for the Court what role you played and what issues
       came up as the Debtor sought to obtain that insurance?

               A Sure. The Debtors had been looking to get an insurance policy in place.
       They were not able to do that. I happen to have worked with an insurance broker
       on D&O situations in some very difficult situations over the years and brought them
       into the mix. They were able to go out to the market and find a policy that would
       cover us, the—kind of the key components of that policy, though, were, number
       one, the guaranty that HCMLP would give--I'm sorry, the guaranty that HCMLP
       would give to Strand's obligations, and also the--I'll call it the gatekeeper provision
       was very important because these parties did not want to have—they wanted to
       have what was referred to, commonly referred to as the Dondero Exclusion.

               So while we were—we purchased a policy that covered us, it did have an
       exclusion, unless there were no assets left, and then the what I'll call—we refer to
       as kind of a Side A policy would kick in.

               Q OK. What do you mean by the Dondero Exclusion?


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                   A The insurers did not want to cover the—any litigation that Mr. Dondero
           would bring against directors. It was pretty commonly known in the marketplace
           that Mr. Dondero was very litigious, and insurers were not willing to write the
           insurance without the protections that this order afforded because they did not want
           to be hit with frivolous—hit with claims on the policy for frivolous litigation that
           might be brought.27

                  Q And do you recall at confirmation what impediments were described to
           the Court in terms of obtaining D&O insurance at that time?

                   A Yes. I think the main impediment which was discussed by Mr. Tauber is
           what they colloquially refer to in insurance markets as the Dondero Exclusion.
           Basically, getting coverage to cover Mr. Dondero’s actions is very difficult because
           of his litigious nature. And so one of the keys was to build in and continue the
           gatekeeper function.28

And then, again, more testimony about the “Dondero Exclusion” came on direct examination

of Debtor’s counsel from an executive in the insurance industry, Marc Tauber, of Aon

Financial:

                   Q Okay. And, finally, you mentioned Mr. Dondero. What role did he play
           in your ability to obtain insurance for the Strand board?

                   A Well, that’s a very significant role. As, you know, as mentioned, the
           underwriters are very risk-averse, so the litigiousness of Mr. Dondero is a very
           strong red flag prohibiting a number of people from writing the insurance at all.
           And the ones that were writing, that were willing to provide options, were looking
           for protections from Mr. Dondero.

                    Q And what kind of protections were they looking for?

                  A Well, the gatekeeper function was a key factor. That was really the only
           way we could even start a conversation with any of the people that we were able to
           engage. And in addition, they wanted a, you know, sort of a belts and suspenders
           additional protection of having an exclusion preventing any litigation brought by
           or on behalf of Mr. Dondero.

                Q Were you able to identify any carrier who was prepared to underwrite
           D&O insurance for Strand without the gatekeeper provision or without a Dondero

27
     Id. at 276-277.
28
     DE # 2598, Transcript from 7/21/21 hearing (direct examination of James P. Seery).

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       exclusion?

               A We were not.29


       In any event, Movants’ statement that this court found the Movants to be “vexatious

litigants” is not consistent with the record. This court did not specifically find or conclude that

Movants are “vexatious litigants.” Rather, this court determined that Mr. Dondero’s litigation

history supported the inclusion of a gatekeeper provision in the Plan. See Confirmation Order, at

¶¶ 80-81 [DE # 1943]. All of the above-quoted testimony was in connection with the bankruptcy

court considering whether gatekeeper provisions proposed in the Plan were necessary and

appropriate. Significantly, the Fifth Circuit affirmed this court’s findings and concluded that the

gatekeeper provision was justified and “sound.”30

       The fact that the Presiding Judge commented on litigiousness (often—by the way—in the

context of yearning for settlement) should not be interpreted as “bias” or “prejudice” toward

Movants or any other party, for that matter. Not only was there significant credible evidence of

this, but it is simply about rule enforcement and managing a docket consistent with this court’s

duty to the public.

       The Presiding Judge’s Fiction Novels. As noted early on, there is now a Fourth Motion to

Recuse filed February 27, 2023, in Adversary Proceeding No. # 21-3076 which is styled Kirschner

v. Dondero. et al. The Presiding Judge intends to rule on that Fourth Motion to Recuse after all

parties in that adversary proceeding have had the opportunity to respond.



29
   DE # 1905, at pp. 31-32 (Transcript from 2/3/21 Confirmation Hearing, Testimony of Marc Tauber of Aon
Financial).
30
   NexPoint v. Highland Capital Management, 48 F.4th 419, 435 (5th Cir. 2022).

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        While the Presiding Judge had intended to remain silent on this subject until such time as

the time had run for parties in the Adversary Proceeding to respond, the court observed that on

March 3, 2023, Movants filed a new pleading entitled Supplemental Memorandum of Law in

Support of Renewed Motion to Recuse Pursuant to 28 U.S.C. § 455, in which Movants supplement

their Third Motion to Recuse “with information regarding two books published by Judge Jernigan,

which Movants recently learned about and read.” DE # 3673. Movants state in this new pleading

that the Presiding Judge’s fiction novels “contain derisive commentary about financial industry

executives, the financial industry generally, and the financial instruments specifically at issue in

HCMLP’s bankruptcy” and that the second novel in particular “appears based on Judge Jernigan’s

experiences with HCMLP and Mr. Dondero in the Bankruptcy Proceedings.” The Movants

conclude that “any reasonable person would agree appear [that the Presiding Judge’s novels are]

patterned after Mr. Dondero, are additional evidence that the Court harbors exceedingly negative

views about hedge fund managers and the hedge fund industry, generally, as well as Mr. Dondero

specifically.” Id., at 4.

        The Presiding Judge’s novels—again entirely fiction—are not about Mr. Dondero or the

hedge fund industry in general. The first novel (He Watches All My Paths) is entirely about a

federal judge who receives death threats and the impact of that on her family, as well as the U.S.

Marshals who provide protection. The ultimate perpetrator of the threats in the novel is not a

person in the hedge fund industry but, rather, a young, former tort victim who feels wronged by

the American justice system. The second novel (Hedging Death) is partly a sequel to the first—

in that it involves a manhunt for a criminal from the first book—and it also happens to involve a

bio-medical research firm in a Chapter 11 case in the protagonist judge’s court, whose president

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is a Chechen immigrant to the U.S. and received funding from a hedge fund manager named Cade

Graham. Cade Graham is the book character that Movants believe is “patterned” after Mr.

Dondero. The character Cade Graham is an individual who fakes his own death in Mexico

(“pseudocide”) after linking up with Mexican drug cartels. He is described as a Dallas native,

raised by an oil man, who graduated from Princeton. He has a Brazilian girlfriend with whom he

has a son, Ethan, with whom he engages in business. The book mentions a “Ranger Capital”

exactly seven times (on six pages in more than 300 pages) as a company of Cade Graham’s. There

is another hedge fund mentioned in the book called Toro Capital. Movants state now that Highland

once did business under the name of “Ranger.” This was never mentioned in the bankruptcy case.

It is not in the Highland disclosure statement. The Presiding Judge cannot find the name in any of

the numerous organizational charts that were presented to her in the last three years. The Presiding

Judge has never once heard this.

       The Presiding Judge regrets this sideshow. Many sitting judges write books—albeit it is

more common for them to write legal nonfiction books than fiction books. Ironically, the former

can be much more fraught with peril—creating the possibility that someone is going to infer a

legal viewpoint that might signal how the judge might rule in a future case. The Presiding Judge

made clear that everything in the two books should be viewed as fiction. For example, on the

copyright information page of Hedging Death:

              Hedging Death is a work of fiction. Names, characters, places, and
       incidents are the products of the author’s imagination or are used fictitiously. Any
       resemblance to actual events, locales, or persons, living or dead, is entirely
       coincidental.




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Then, again on the Author’s Page before the Prologue:

                Because I am a sitting United States judge, and I am also married to a police
        officer, I feel compelled, at the outset, to clarify certain points regarding this novel.
        First, with the exception of the Prologue herein (which describes real-life events
        that happened July 7, 2016, in Dallas, Texas) the following is a work of fiction.
        While some of the characters and events beyond the Prologue may be loosely based
        on actual persons and events, and some of the places (in my home state of Texas
        and in various other faraway spots) are certainly very real, the human characters in
        this novel are absolutely fictional. Judge Avery Lassiter, the main character in this
        novel, is not me. Second, one should not assume that any statement or opinion
        expressed or implied by any characters in this novel are necessarily mine or are
        somehow a reflection on how I might rule on any particular issue in any case in the
        future.

        The author Oscar Wilde once wrote: “Life imitates art far more than art imitates life.”31

That being true, many fiction authors do, indeed, write about “what they know.” Many fiction

authors write stories where characters are loosely based on real life people or weave plots that are

loosely based on real life events. The examples are countless. Agatha Christie wrote a story line

about a kidnapping of a child from a wealthy American family (based on the Lindberg child

kidnapping) in Murder on the Orient Express. Practically, everything Ernest Hemingway ever

wrote was a highly fictionalized story from his past: A Farewell to Arms (story of an American

expatriate working as an ambulance driver in the Italian Army who is wounded and falls in love

with an Italian nurse—Hemingway was wounded as an ambulance driver working for the Italian

Army in World War I); The Sun Also Rises (story of a group of young American and British

expatriates who become friends living in Paris and go to the bull fights in Pamplona—once again,

Hemingway spent years in Paris, hanging out with the likes of F Scott Fitzgerald, Pablo Picasso,

and Gertrude Stein, occasionally going to see the bull fights in Spain); The Old Man and the Sea


31
  Oscar Wilde, The Decay of Lying—An Observation (essay in his collection of essays titled Intentions in THE
NINETEENTH CENTURY periodical (Jan. 1889)).

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(story about an old fisherman in Cuba—again, Hemingway spent several years of his life fishing,

writing, and drinking in Cuba on a boat called the Pillar). The Presiding Judge is somewhat

embarrassed to discuss these literary greats in the same paragraph in which she is mentioning her

own fiction works—it is merely to make a point. While the Presiding Judge’s protagonist

characters in her books (Judge Avery Lassiter and Max Lassiter) may resemble herself and her

spouse, and while certain judges, lawyers, and U.S. Marshal characters in her books may resemble

real life persons (i.e., heroes) that she has been honored to see or know during her lifetime, there

are no characters or entities in her books that have been inspired by or modeled after the Movants.

       VI.     CONCLUSION.

       The Presiding Judge has not specifically addressed herein every single ground asserted by

the Movants as a manifestation of her alleged bias or animus. The submissions on this issue are

enormous (as mentioned, thousands of pages have been filed). Distilled to its essence, the Third

Motion to Recuse has failed to present any objective manifestations of bias or prejudice.

       The court does not believe any of the assertions of the Movants rise to “the threshold

standard of raising a doubt in the mind of a reasonable observer” as to the judge’s impartiality.

This court does not believe that any objective person would find that the Movants are the victims

of improper judicial conduct rising to the extraordinary remedy of recusal.

       WHEREFORE, it is hereby

       ORDERED that the Third Motion to Recuse is denied.

       It is so ORDERED.

                ### END OF MEMORANDUM OPINION AND ORDER ###




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